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                     Exhibit I
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)                                1:18-cv-11642

                               Plaintiff,
                -against-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),                                     ORDER
VINCENT WENYONG SHI,
JIA LIAN,
XIAO YU,

                               Defendants,
                -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                                Nominal Defendant.


         On December 13, 2018, Plaintiff commenced this action by filing a complaint

against Link Motion, Inc. (“LKM” or the “Company”) and the individual defendants.

ECF 1.

         On February 1, 2019, the Court granted Plaintiff’s request for the appointment of a

Receiver over the Company and issued an order appointing a Temporary Receiver for Link

Motion, Inc. (the “Receiver”). ECF 26. In its ruling the Court ordered a temporary

restraining order to enjoin Defendants from: transferring, liquidating, dissipating, assigning,

and/or granting a lien or security interest or other interest in, any assets belonging to the

Company. ECF 26.

         On June 18, 2019, the Court approved the Convertible Promissory Note Agreement

between Mr. Lilin Guo (“Mr. Guo”) and the Receiver in order to assist with funding of the

Court Appointed Temporary Receivership’s mandate inside the PRC. ECF 119. On

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January 17, 2020, the Court approved the amended Convertible Promissory Note

Agreement (the “Note”) between Mr. Guo and the Receiver. ECF 120. On June 5, 2020,

the Court approved a request to convert the past outstanding loan amount into Class B

Common Equity of the Company pursuant to the Note.

       On August 30, 2020, the Receiver submitted a letter application (the

“Application”) and requested that the Court approve Mr. Guo’s request to exercise his

option to convert the Note to Class B Common Equity in accordance with the terms of the

Note, and to further approve the Receiver to take the necessary steps to register the

converted shares with the Cayman Registry.

       In light of the above, and upon review of all the papers submitted by the Receiver

in this action and in support of the Application, and with good cause appearing, it is hereby

ORDERED AS FOLLOWS:

       The Receiver is authorized to exercise the rights, powers, and privileges of the

directors of Link Motion, Inc. in order to take all necessary corporate actions on behalf of

the Company to issue and allot the Class B Common Equity shares in accordance with the

terms of the Note and to enter, or cause to be entered, the issuance and allotment of the

shares on the Company’s Register of Members.

       The Receiver’s Application to convert the Note to Class B Common Equity under

the name of Mr. Lilin Guo is GRANTED.

       The Receiver is authorized and directed to file with the Grand Court of the Cayman

Islands an application to convert the Note to Class B Common Equity under the name of

Mr. Lilin Guo no later than October 30, 2020, and this Court requests the aid and

assistance of the Grand Court of the Cayman Islands in giving effect to the terms of this



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Order.




IT IS SO ORDERED.                 Enter:


Dated: September 8, 2021          __________________________________
                                  Hon. Victor Marrero
                                  United States District Judge




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